Anita Swaton

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From: JJ Voithofer
Sent: Monday, April 22, 2024 1:00 PM
To: Anita Swaton
Subject: FW: MEBN Entity List for January 2024 (West Virginia - North)
Attachments: Attachment 1 - FRBP 9036 Medel Order Restricted.docx; Attachment 2 - Model Order

Instructions for Template.docx; Attachment 3 - Result of Hearing on MEBN Matter
under 9036 PDF.pdf; West Virginia - North_EntityList-January2024.xlsx

Anita,

Please see the email below.

Thanks,

James J. Voithofer, Clerk of Court
United States Bankruptcy Court
Northern District of West Virginia
PO Box 70

Wheeling, WV 26003
304.233.1655

From: AO BNC -MEBN <BNC_MEBN@ao.uscourts.gov>

Sent: Friday, April 19, 2024 3:20 PM

To: JJ Voithofer <james_voithofer@wvnb.uscourts.gov>

Subject: MEBN Entity List for January 2024 (West Virginia - North)

Dear Clerk,

The attached list of entities are parties in bankruptcy cases in your district. Your district was selected out of all the
districts to contact these specific entities because your district sent to that entity the greatest number of notices during
the month of December 2023.

The procedures for mandatory electronic bankruptcy noticing may be found on the JNet, effective December 1,

2023. Please note the entity list now includes the last date the entities will receive mailed paper notices (06/24/2024) if
they do not sign up for EBN. Attached are a model order and corresponding exhibits that should be sent to each entity
that a judge chooses to set a status conference or hearing. The date and time of the status conference or hearing
should be approximately 3 weeks from the date of order. Under the AO’s implementation procedures, any proceeding
should be concluded no later than 60 days from the date of the second BNC notification letter (sent on

03/27/2024). Please let me know if you have any questions as to this process; a list of frequently asked questions may
be found on the JNet.

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Thank you for your assistance,

Keesha Perry

Attachments:
Model order with Exhibit A and Exhibit B
Instructions to the court on using the model order
Result of Hearing on a MEBN Matter

List of entities with their name, mailing address, EBN sign up code and number of notices sent

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE [Region] DISTRICT OF [District]
[Division] DIVISION

In re: [NAME OF ENTITY] §

§
Proceedings to Enforce § Misc. Proceeding No. [Number]
Fed. R. Bankr. P. 9036 §

ORDER REQUIRING [NAME OF ENTITY] TO APPEAR THROUGH COUNSEL
AT A STATUS CONFERENCE ON [DATE]

The Administrative Office of the United States Courts has advised the Court that [NAME
OF ENTITY] has been designated as a high-volume paper-notice recipient of bankruptcy notices
under Federal Rule of Bankruptcy Procedure 9036. A high-volume paper-notice recipient is
currently defined as an entity that has been mailed 25 or more notices in any calendar month by
the Bankruptcy Noticing Center. Federal Rule of Bankruptcy Procedure 9036 mandates that high
volume recipients (with limited exceptions) must receive electronic notices.

The Administrative Office of the United States Courts has advised the Court that [NAME
OF ENTITY] has failed to register to receive electronic bankruptcy notices.

On [DATE] at [TIME] at [LOCATION] [REMOVE THIS TEXT BEFORE SENDING:
Date and time should be approximately 3 weeks from date of order. Under the AO’s
implementation procedures, any proceeding should be concluded no later than 60 days from the
date of the second BNC notification letter.] , the Court will conduct a status conference to
determine what action should be taken to compel (if necessary) [NAME OF ENTITY] to comply
with Federal Rule of Bankruptcy Procedure 9036. [NAME OF ENTITY] is ordered to appear at
the status conference through counsel. Counsel should be prepared to advise the Court on the steps
that [NAME OF ENTITY] is taking to assure comprehensive compliance with Federal Rule of
Bankruptcy Procedure 9036.!

In lieu of attendance at the scheduled status conference, [NAME OF ENTITY] may
complete and file Exhibit A, confirming that it has completed its registration for electronic
noticing and will receive court notices at an email address chosen by the entity.” Alternatively,
[NAME OF ENTITY] may complete and file Exhibit B, confirming that it wishes to receive its
court notices at an electronic account created for the entity by the Bankruptcy Noticing Center.
Any completed exhibit and accompanying materials must be filed with the Court not less than 72
hours prior to the commencement of the scheduled status conference. |

' In addition to any appropriate sanctions, failure to comply with this Order or register for electronic noticing, will
result in the cessation of paper noticing from the U.S. Bankruptcy Courts and the creation of an electronic account
for you by the Bankruptcy Noticing Center, as set forth in Exhibit B.

2 Registration for electronic bankruptcy noticing is at the following web site:
https://bankruptcynotices.uscourts.gov/register.

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The Clerk will serve this on [NAME OF ENTITY] by United States Mail and file a
Certificate of Service.

EXHIBIT A

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE [Region] DISTRICT OF [District]
[Division] DIVISION

In re: [NAME OF ENTITY] §

§
Proceedings to Enforce § Misc. Proceeding No. [Number]
Fed. R. Bankr. P. 9036 §

STATEMENT CONFIRMING REGISTRATION FOR
ELECTRONIC BANKRUPTCY NOTICING

This Statement is filed on behalf of [NAME OF ENTITY].

The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

The entity identified above registered for electronic bankruptcy noticing on
The entity has attached to this statement a copy of the confirmation email it received from the
Bankruptcy Noticing Center reflecting that it has completed its registration for electronic noticing.
By registering for electronic bankruptcy noticing, the entity has agreed to receive its bankruptcy
notices from the U.S. Bankruptcy Courts at the email address identified on the attached
confirmation email from the Bankruptcy Noticing Center.

The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.

Signature:

Typed Name:

Date:

EXHIBIT B

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE [Region] DISTRICT OF [District]
[Division] DIVISION

In re: [NAME OF ENTITY] §

§
Proceedings to Enforce § Misc. Proceeding No. [Number]
Fed. R. Bankr. P. 9036 §

STATEMENT ACCEPTING ELECTRONIC COURT NOTICES AT AN ACCOUNT
CREATED BY THE BANKRUPTCY NOTICING CENTER

This Statement is filed on behalf of [NAME OF ENTITY].

The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

The entity identified above is aware that, beginning on June 24, 2024, it will no longer be
sent paper bankruptcy notices from the U.S. Bankruptcy Courts. The entity confirms that it wishes
to receive its bankruptcy notices from the U.S. Bankruptcy Courts at an electronic account created
for the entity by the Bankruptcy Noticing Center. The entity confirms that it will take the necessary
steps to access the electronic account in accordance with the instructions provided to the entity in
separate letters from the Bankruptcy Noticing Center.

The individual signing this statement represents that the individual is an authorized agent
of the entity identified above. ,

Signature:

Typed Name:

Date:

Mandatory Electronic Bankruptcy Noticing
Instructions to Use the Model Order

The model order is being provided in a restricted format. This allows you to populate the
required fields and then print the document. If you wish to modify the model order’s text, please
read the instructions following How to Populate Fields.

How to Populate Fields

Click a shaded field and type your replacement text, then tab to the next field. When you type
the NAME OF ENTITY or the DATE, the document will auto-populate every NAME OF
ENTITY and DATE field.

If your state only has one district (e.g. District of Maryland), please type a space character in the
caption where the field reads ‘Region’.

The red text within the model order is a reminder to the court as to the timeline defined by the
Mandatory Bankruptcy Electronic Noticing procedure. Please select this text and type a space
character to remove it.

Modify Model Order Text

1. Click the Developer tab in the Microsoft Word ribbon on top.
2. Click the Restrict Editing button.
3. Click the Stop Protection button.

Stop Protection &

Figure | Stop Protection button

4. Make edits as needed.

Restrict Document to Allow Text to Auto-Populate

1. Chick the Developer tab in the Microsoft Word ribbon on top.
2. Click the Restrict Editing button.
3. On the Restrict Editing panel that opens,
a. check the box under section 2. Editing restrictions; and
b. change the dropdown menu option to Filling in forms.

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Restrict fate

_foegin in forms |

Are you ou ready to-apply these.
tater) Ao “fe

ay Yes, Start Enforcing Protection |:

Figure 2 Restrict Editing function list

4. Click the button Yes, Start Enforcing Protection under section 3.
5. Leave the password fields blank and click OK. Save your document.

Start Enforcing Protection ? x

Protection method - Sree Taman oe aa

@ Password

‘(Whe document is nat encrypted. htalictous Users'can v-edit
the file-and remove the. password}. -

Enter new password {optional} || |

Reenter password to confirm: r |

3 User authentication

(authenticated Owners can remove document t protection,
‘The document is encrypted and Restricted Access is,
enabled} oo

OK

Figure 3 Password screen to bypass
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Requested Information

Mandatory Bankruptcy Noticing Matter under Federal Rule of Bankruptcy Procedure 9036

The Procedure for Designating and Notifying High-Volume Paper Notice Recipients Pursuant to Fed. R.
Bankr. P. 9036(b)(2){B) asks that the court transmit to the Administrative Office the outcome of any
proceeding relating to a Fed. R. Bankr. P. 9036{b)(2){B) matter within two business days of the
proceeding. —

Bankruptcy Court District:

High-volume notice entity name:

Mailing Address:

Case/Proceeding Number:

Trading Partner Number (if known):

Please save this document as a PDF and send this document, or a substantive version of this information
in your own format, to BNC MEBN@ao.uscourts.gov. Attach any related order PDFs to your email.

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